
Mind &amp; Body Acupuncture, P.C., as Assignee of Jermaine Lyte, Respondent, 
againstInfinity Property &amp; Casualty Co., Appellant.




Freiberg, Peck &amp; Kang, LLP, Yilo J. Kang, Esq., for appellant.
Kopelevich &amp; Feldsherova, P.C., Galina Feldsherova, Esq., for respondent.

Appeal from an order of the Civil Court of the City of New York, Kings County (Devin P. Cohen, J.), entered October 3, 2014. The order denied defendant's motion for summary judgment dismissing the complaint.




ORDERED that the order is reversed, with $30 costs, and defendant's motion for summary judgment dismissing the complaint is granted.
In this action by a provider to recover assigned first-party no-fault benefits, by order entered October 3, 2014, the Civil Court denied defendant's motion for summary judgment dismissing the complaint.
For the reasons stated in Delta Diagnostic Radiology, P.C. v Infinity Group (49 Misc 3d 42 [App Term, 2d Dept, 2d, 11th &amp; 13th Jud Dists 2015]), the order is reversed and defendant's motion for summary judgment dismissing the complaint is granted (see also Remedial Med. Care, P.C., as Assignee of Jermaine Lyte v Infinity Prop. &amp; Cas. Co., __ Misc 3d ___, 2017 NY Slip Op____ [appeal No. 2015-397 K C], decided herewith).
PESCE, P.J., WESTON and ALIOTTA, JJ., concur.

ENTER:
Paul Kenny
Chief Clerk
Decision Date: March 31, 2017










